                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

CHARLES W. COOPER,                           )
                                             )
              Plaintiff,                     )
                                             )
              vs.                            ) CASE NO.: 1:17-cv-02467-JMS-MJD
                                             )
CITY OF INDIANAPOLIS and                     )
OFFICER GREGORY DAVIS,                       )
                                             )
              Defendants.                    )

     DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES


Defendants City of Indianapolis and Officer Gregory Davis, by counsel answer Plaintiff’s

Complaint as follows:


1.     Plaintiff brings this action pursuant to 42 U.S.C § 1983 to redress violations of his federal

       civil rights under the Fourth Amendment and Fourteenth Amendment to the U.S.

       Constitution and tortious and negligent conduct under Indiana state law when the

       Defendants used excessive force, assaulted, and battered Plaintiff causing severe personal

       injuries to him.

       ANSWER: Defendants deny the allegations in paragraph 1 of Plaintiff’s complaint.



2.     Plaintiff brings this action pursuant to 42 U.S.C. § 1983 to redress Defendants’ violations

       of his rights under the Fourth Amendment and Fourteenth Amendment to the U.S.

       Constitution and under Indiana state law. This Court has original subject matter

       jurisdiction of the federal questions presented pursuant to 28 U.S.C. § 1333 and § 1343.

       ANSWER: Defendants admit jurisdiction is proper.
3.   This Court has supplemental jurisdiction over the state law claims brought by the

     Plaintiff pursuant to 28. U.S.C. § 1367.

     ANSWER: Defendants admit jurisdiction is proper.



4.   Venue is proper in the Indianapolis Division because the Plaintiff resides in this division,

     Defendant Davis is believed to reside in this division, Defendant, City of Indianapolis, is

     a political subdivision in this division, and the events complained of occurred in this

     division.

     ANSWER: Defendants admit that the venue is proper.



5.   Plaintiff served a timely Tort Claim Notice upon the Indianapolis Metropolitan Police

     Department, the employer of Defendant Gregory Davis, and the City of Indianapolis.

     ANSWER: Defendants are without sufficient knowledge or information to admit or
     deny the allegations in paragraph 5 of Plaintiff’s complaint.



6.   More than ninety (90) days have passed since the service of the Tort Claim Notice and

     adjustment or payment thereof has been neglected or refused.

     ANSWER: Defendants are without sufficient knowledge or information to admit or
     deny the allegations in paragraph 6 of Plaintiff’s complaint.



7.   Plaintiff, Charles W. Cooper, is an adult citizen of the United States presently residing in

     Indianapolis, Indiana.




                                                2
      ANSWER: Defendants are without sufficient knowledge or information to admit or
      deny the allegations in paragraph 7 of Plaintiff’s complaint.



8.    Officer Gregory Davis was at all relevant times an Indianapolis Metropolitan Police

      Department police officer employed by the City of Indianapolis. He is sued in his

      individual capacity and his official capacity as a law enforcement officer.

      ANSWER: Defendants admit that Officer Gregory Davis was at all relevant times
      employed by the Indianapolis Metropolitan Police Department.



9.    Defendant, City of Indianapolis, operates a law enforcement agency, known as the

      Indianapolis Metropolitan Police Department, which is a political subdivision of the City

      of Indianapolis.

      ANSWER: Defendants admit that the City of Indianapolis operates the Indianapolis
      Metropolitan Police Department. Insofar as the phrase “political subdivision” suggests
      that the Indianapolis Metropolitan Police Department may sue or be sued, Defendants
      deny this allegation.



10.   On July 28, 2015, one or more Indianapolis Metropolitan Police Officers, including

      Defendant, Gregory Davis, were investigating a reported robbery.

      ANSWER: Defendants admit the allegations in paragraph 10 of Plaintiff’s complaint.



11.   Defendant Officer Davis, had a K9 unit with him.

      ANSWER: Defendants admit the allegations in paragraph 11 of Plaintiff’s complaint.



12.   During the course of the investigation, Defendant Officer Davis approached Charles W.

      Cooper who was sleeping on the porch of his grandmother’s home.

                                               3
      ANSWER: Defendants are without sufficient knowledge or information to admit or
      deny the allegations in paragraph 12 of Plaintiff’s complaint.


13.   Defendant Officer Davis unleashed his K9 upon Charles W. Cooper.

      ANSWER: Defendants admit the allegations in paragraph 13 of Plaintiff’s complaint.



14.   The K9 attacked and bit Charles W. Cooper.

      ANSWER: Defendants admit the allegations in paragraph 14 of Plaintiff’s complaint.



15.   Charles W. Cooper was doing nothing which necessitated or justified the use of police

      force against him.

      ANSWER: Defendants deny the allegations in paragraph 15 of Plaintiff’s complaint.



16.   Defendant Officer Davis’ use of his K9 unit was a use of force against Charles W.

      Cooper.

      ANSWER: Defendants admit the allegations in paragraph 16 of Plaintiff’s complaint.



17.   The K9 unit inflicted serious injuries upon Plaintiff, Charles W. Cooper.

      ANSWER: Defendants are without sufficient knowledge or information to admit or
      deny the allegations in paragraph 17 of Plaintiff’s complaint.



18.   Officer Gregory Davis used excessive and unreasonable force against Plaintiff Cooper.

      ANSWER: Defendants deny the allegations in paragraph 18 of Plaintiff’s complaint.




                                              4
19.   The use of force by Officer Davis, was not justified, was not reasonable, and was

      excessive.

      ANSWER: Defendants deny the allegations in paragraph 19 of Plaintiff’s complaint.



20.   Officer Gregory Davis was acting within the course and scope of his employment with

      the City of Indianapolis as an Indianapolis Metropolitan Police Department officer at all

      relevant times.

      ANSWER: Defendants admit the allegations in paragraph 20 of Plaintiff’s complaint.



21.   Officer Gregory Davis acted and/or refused to act at all times relevant under color of state

      law.

      ANSWER: Defendants are without sufficient knowledge or information to admit or
      deny the allegations in paragraph 21 of Plaintiff’s complaint.



22.   At all times, the employees, agents, and representatives of Defendant, City of

      Indianapolis, and Officer Gregory Davis, acted pursuant to official policy.

      ANSWER: Defendants are without sufficient knowledge or information to admit or
      deny the allegations in paragraph 22 of Plaintiff’s complaint.



23.   At all times, Defendant, City of Indianapolis, had an official policy, procedure, or

      protocol authorizing its officers to use excessive force in situations such as described in

      this Complaint.

      ANSWER: Defendants deny the allegations in paragraph 23 of Plaintiff’s complaint.




                                                5
24.   Plaintiff, Charles W. Cooper, was proximately injured by the actions of Officer Gregory

      Davis and the City of Indianapolis.

      ANSWER: Defendants deny the allegations in paragraph 24 of Plaintiff’s complaint.



25.   The actions of Officer Gregory Davis constitute the use of excessive force and

      unreasonable seizure in violation of Charles W. Cooper’s Fourth and Fourteenth

      Amendment rights as guaranteed by the United States Constitution which directly and

      proximately caused severe injuries to Plaintiff Cooper.

      ANSWER: Defendants deny the allegations in paragraph 25 of Plaintiff’s complaint.



26.   Officer Davis’ actions constitute excessive force, negligence, assault, battery, and

      negligent and intentional infliction of emotional distress under Indiana law and

      Defendant, City of Indianapolis, is liable for the actions of Officer Davis under the

      doctrine of respondeat superior.

      ANSWER: Defendants deny the allegations in paragraph 26 of Plaintiff’s complaint.



27.   The City of Indianapolis was negligent in failing to properly hire, train, and supervise

      Officer Gregory Davis and said negligence was a direct and proximate result of

      Plaintiff’s injuries.

      ANSWER: Defendants deny the allegations contained in paragraph 27 of Plaintiff’s
      complaint.




                                               6
28.   Plaintiffs seek all relief allowable by law, including compensatory and punitive damages,

      costs, and attorney’s fees.

                                AFFIRMATIVE DEFENSES

1.    Defendants are entitled to any statutory and common-law immunity applicable to

      Plaintiff’s claims under federal and state law, including qualified immunity.

2.    Defendants are entitled to the immunities provided by the Indiana Tort Claims Act,

      including those contained in Indiana Code § 34-13-3-3.


                                            Respectfully Submitted,

                                            /s/ Thomas J. O. Moore
                                            Thomas J. O. Moore (32079-53)
                                            Assistant Corporation Counsel
                                            OFFICE OF CORPORATION COUNSEL
                                            200 East Washington Street, Suite 1601
                                            Indianapolis, Indiana 46204
                                            Telephone: (317) 327-4055
                                            Email: thomas.moore@indy.gov




                                               7
                                CERTIFICATE OF SERVICE

       The undersigned counsel certifies that a copy of the foregoing was filed electronically on

September 26, 2017. Notice of this filing will be sent to the following parties by operation of the

Court’s electronic filing system. Parties may access this filing through the Court’s system.

        Christopher D. Wyant                        Norman L. Reed
        Wyant Law Office, LLC                       303 North Alabama Street, Suite 230
        608 East Market Street                      Indianapolis, Indiana 46204
        Indianapolis, Indiana 46202

                                             Respectfully Submitted,

                                             /s/ Thomas J. O. Moore
                                             Thomas J. O. Moore
                                             Assistant Corporation Counsel
OFFICE OF CORPORATION COUNSEL
200 East Washington Street, Suite 1601
Indianapolis, Indiana 46204




                                                8
